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Pro Se 2 (Rev. 12/16) Complaint and Request for Injunction



                                        UNITED STATES DISTRICT COURT
                                                                       for the
                                                        __________ District of __________

                                                              __________ Division


                                                                         )
                                                                                 Case No.
                                                                         )
                                                                         )                  (to be filled in by the Clerk’s Office)

                                                                         )
                              Plaintiff(s)
(Write the full name of each plaintiff who is filing this complaint.     )
If the names of all the plaintiffs cannot fit in the space above,        )
please write “see attached” in the space and attach an additional        )
page with the full list of names.)
                                                                         )
                                  -v-
                                                                         )
                                                                         )
                                                                         )
                                                                         )
                                                                         )
                              Defendant(s)
(Write the full name of each defendant who is being sued. If the
                                                                         )
names of all the defendants cannot fit in the space above, please        )
write “see attached” in the space and attach an additional page
with the full list of names.)



                                    COMPLAINT AND REQUEST FOR INJUNCTION

I.        The Parties to This Complaint
          A.         The Plaintiff(s)

                     Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                     needed.
                                Name
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address


          B.         The Defendant(s)

                     Provide the information below for each defendant named in the complaint, whether the defendant is an
                     individual, a government agency, an organization, or a corporation. For an individual defendant,
                     include the person's job or title (if known). Attach additional pages if needed.
                                                                                                                                      Page 1 of 6
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                     Defendant No. 1
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 2
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 3
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)


                     Defendant No. 4
                                Name
                                Job or Title (if known)
                                Street Address
                                City and County
                                State and Zip Code
                                Telephone Number
                                E-mail Address (if known)



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II.       Basis for Jurisdiction

          Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
          heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
          parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
          is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
          another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. In a
          diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

          What is the basis for federal court jurisdiction? (check all that apply)
                  ✔
                  ’ Federal question                               ’ Diversity of citizenship


          Fill out the paragraphs in this section that apply to this case.

          A.         If the Basis for Jurisdiction Is a Federal Question

                     List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that
                     are at issue in this case.




          B.         If the Basis for Jurisdiction Is Diversity of Citizenship

                     1.         The Plaintiff(s)

                                a.         If the plaintiff is an individual
                                           The plaintiff, (name)                                                    , is a citizen of the
                                           State of (name)                                                  .


                                b.         If the plaintiff is a corporation
                                           The plaintiff, (name)                                                    , is incorporated
                                           under the laws of the State of (name)                                                            ,
                                           and has its principal place of business in the State of (name)
                                                                                            .

                                (If more than one plaintiff is named in the complaint, attach an additional page providing the
                                same information for each additional plaintiff.)

                     2.         The Defendant(s)

                                a.         If the defendant is an individual
                                           The defendant, (name)                                                    , is a citizen of
                                           the State of (name)                                                  . Or is a citizen of
                                            (foreign nation)                                      .


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                                b.         If the defendant is a corporation
                                           The defendant, (name)                                        , is incorporated under
                                           the laws of the State of (name)                                        , and has its
                                           principal place of business in the State of (name)                                     .
                                           Or is incorporated under the laws of (foreign nation)                                  ,
                                           and has its principal place of business in (name)                                      .

                                (If more than one defendant is named in the complaint, attach an additional page providing the
                                same information for each additional defendant.)

                     3.         The Amount in Controversy

                                The amount in controversy–the amount the plaintiff claims the defendant owes or the amount at
                                stake–is more than $75,000, not counting interest and costs of court, because (explain):




III.      Statement of Claim

          Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
          facts showing that each plaintiff is entitled to the injunction or other relief sought. State how each defendant
          was involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights,
          including the dates and places of that involvement or conduct. If more than one claim is asserted, number each
          claim and write a short and plain statement of each claim in a separate paragraph. Attach additional pages if
          needed.

          A.         Where did the events giving rise to your claim(s) occur?




          B.         What date and approximate time did the events giving rise to your claim(s) occur?




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          C.         What are the facts underlying your claim(s)? (For example: What happened to you? Who did what?
                     Was anyone else involved? Who else saw what happened?)




IV.       Irreparable Injury

          Explain why monetary damages at a later time would not adequately compensate you for the injuries you
          sustained, are sustaining, or will sustain as a result of the events described above, or why such compensation
          could not be measured.




V.        Relief

          State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal
          arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include
          the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any
          punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or
          punitive money damages.




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b.   If the defendant is a corporation

     The defendant, (name) Apex International Marketing , is incorporated
     under the laws of the State of (name) New York              , and has its
     principal place of business in the State of (name) New York             ,
     Or is incorporated under the laws of (foreign nation)                   ,
     and has its principal place of business in (name)                       ,




C. What are the facts underlying your claim(s)? (For example: What
happened to you? Who did what? Was anyone else involved? Who else
saw what happened?)
On October 2019, approximately around 8:30pm two unknown
individuals on behalf of Sklar Law, LLC came to my abode location to
serve me with court paperwork with someone else’s location information
on it, with the name of Sklar Law, LLC and Apex International
Marketing on it. This is in violation of 15 usc 1692b(2) & 15 usc
1692g(c), at the time I was not given an opportunity to dispute the
alleged debt, however it is not an admission to the courts that I’m liable
as a federally protected consumer, and they can not state that I owe any
such debt. The delivery of this court document was the initial
communication from Sklar Law, LLC in which is in violation of 15 usc
1692g(d). This was offensive and a violation of my privacy without
written consent, in violation of 15 usc 1681b(2), 15 usc 1681a(b) & 15
usc 1681a(A)(ii). I did not consent to them having my information or
consuming it from a third party. Sklar Law, LLC is specifically in
violation of 15 usc 1692e(3), based on them saying that they’re an
attorney, also they’re are an uninterested party, and was not present
when this alleged action took place and is based off hearsay. Apex
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International Marketing is representing Ocean Reef in which is
international and out of jurisdiction. The paperwork that was served is
fraudulent. Also I’ve never received that they were attempting to collect
debt and that I had 30 days to dispute this debt, in which is a violation of
15 usc 1692g(3). This was in violation of 15 usc 1692b & 15 usc 1692c.
This document was in violation of 15 usc 1692d(2), 15 usc 1692b(2) and
several violations in Title 15 in which protect my federally protected
consumer rights. I was still unaware of my federally protected consumer
rights at the moment. I did call them and advised them that I didn’t have
any money and I was out of work on injury fighting for workmen’s
compensation. I was anxiously waiting on my court date to approach on
April 29, 2020. Due to the global pandemic there was a stay at home
order given by the governor Tom Wolf of PA and all courts were closed
and I didn’t receive another court date. I believe courts are still closed
because of Covid-19. On Sunday, August 10, 2020 I attempted to check
my bank account online with the Police and Fire Federal Credit Union
and noticed that my checking was locked for -$19,742.97, savings -
$17,513.71, savings plus -$20,661.01 for account #0025766201, and my
second account #0095581401 was locked for, checking -$20,443.20,
savings $20,599.16. I immediately became in a frantic state of mind. I
did not authorize or given any person or corporation permission to go
into my account. I only had limited amount of funds and it was a global
pandemic going on and I didn’t owe any such debt. I was also charged
with $100 Writ of Execution fee in which is fraud. I haven’t received
any paperwork as to why my account was locked.
On August 11, 2020 at 12:58pm, I Deborah Grooms called Sklar Law,
LLC and spoke with Denise who stated that she works for the attorney’s
office that I was contacting. I spoke to her in regards to the several
illegal violations that has been committed against me. Denise was very
irate. I asked her did they go to court on April 29, 2020 and she stated
that they followed all procedures. I informed her that it was a global shut
down and she was not receptive to the information. I was crying and
upset, depressed, etc. I was only receiving my small disability benefits
and I was not able to use my disability money because of the account
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was locked by the because of a fraudulent court document. I haven’t
received any paperwork to due to a writ of execution. On August 12,
2020 I then sent a Affidavit of Truth, Cease and Desist, Specified
remedy, and an invoice to Sklar Law, LLC & Apex International
Marketing. After I sent those specified items, Sklar Law, LLC has
received the packet on August 14, 2020 by certified mail. Sklar Law,
LLC contacts me by mail on postal date of August 27, 2020 in which I
received the mail on August 29, 2020 in a back dated envelope that said
July 29, 2020, and specifically stating a Writ of Execution with two
stamped dates on the back for July 34, 2020 which doesn’t exist and
August 3, 2020 with several violations. Sklar Law, LLC has violated 15
usc 1692c(c). I Deborah Grooms sent a second packet with another
Affidavit of Truth, Cease and Desist, Specified Remedy, invoice, and an
Opportunity to Cure and Default letter on September 4, 2020. Sklar Law,
LLC then responded with a civil action garnishee paperwork on
September 9, 2020 again in violation of 15 usc 1692c(c). On exhibits I
and J it shows that the police and fire federal credit union issued a check
and sent it to Sklar Law, LLC in the amount of $3,185.11 in my name
without my permission. These are all violations of 15 usc 1692e(2)(A),
15 usc 1692e(3), 15 usc 1692e(5), 15 usc 1692e(8), 15 usc 1692e(9), 15
usc 1692a, and several other violations. Neither of the Affidavits of
Truths that were sent out were never rebutted line by line, and several
violations were listed on those Affidavits of Truth in which are factual.
On October 15, 2020 at approximately 9:27am, I spoke to Michael at
Sklar Law, LLC and he stated that my account should be unlocked after
they took the money. Michael has violated me again by stating that I still
owe a debt of $15,000 and they were going to come after me again so I
mine as well make payment arrangements in which is still a violation
because I do not owe such debt, 15 usc 1692b(2). I informed him that
they took my disability money and I’m not working and I’ve been
violated. He also disclosed that I might want to speak to the other party
Courtney that is listed on the Civil Court document report and he
disclosed Courtney’s personal information, stating that she filed
bankruptcy. Mike also stated that this whole thing was a big mess when I
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stated that there was never another court date sent out because of the
pandemic. On Friday October 16, 2020 Sklar Law, LLC sent out a letter
of satisfied judgement to the police and fire federal credit union. Sklar
Law, LLC has continued to use profane, abusive, oppress, harass,
threaten, obscene and profane language all in violation of 15 usc 1692d.
IV. Irreparable Injury
Explain why monetary damages at a later time would not adequately
compensate you for the injuries you sustained, are sustaining or will
sustain as a result of the events described above, or why such
compensation could not be measured.
During this horrific ordeal and process, this events that took place
caused mental stress and breakdown. I had shortness of breath, panic
attacks, migraine headaches, and I worried on a daily basis. My doctor
issued me antidepressants to help me cope with this situation. Daily I
had mental anguish and distress. I was depressed every day wondering
how I was going to feed myself. I cried every day begging my family
members to help me. They were scared as well because they didn’t want
to get sick with the virus and neither did I. I had no money and Sklar
Law illegally took my funds I had to feed myself. Not only that, the
global pandemic is still happening and I didn’t
know what I was going to do with a frozen bank account. During this
time I would go days in between without eating any food. Also Sklar
Law, LLC has destroyed my credibility financially in violation of 15 usc
1681.
V. Relief
State briefly and precisely what damages or other relief the plaintiff asks
the court to order. Do not make legal arguments. Include any basis for
claiming that the wrongs alleged are continuing at the present time.
Include the amounts of any actual damages claimed for the acts alleged
and the basis for the amounts. Include any punitive or exemplary
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damages claimed, the amounts, and the reasons you claim you are
entitled to actual or punitive money damages.
I would like for courts to order that I receive all monetary damages
requested. Return my money that they took from my bank account. Zero
out all balances with consumer reporting agencies and delete my
information from their system. I want a written apology.
